
ORDER
These consolidated bar disciplinary matter arises out of recommendations of the disciplinary board filed in this court on April 9, 1997 recommending respondent be suspended from the practice of law for ninety days, with all but thirty days deferred, followed by a two-year supervised probation subject to conditions.
Subsequently, on June 13, 1997, this court issued an order placing respondent on interim suspension pursuant to Supreme Court Rule XIX, § 19 in connection with his conviction of a felony, and ordering that necessary disciplinary proceedings be instituted. In re: Edwards, 97-B-0624 (La. 6/13/97), 695 So.2d 1325.
In the interest of avoiding piecemeal discipline, we feel it is appropriate for the hearing committee to consider the record of the instant charges together with the charges to be filed in connection with 97-B-0624, and to formulate a single recommendation. Accordingly, the record of the charges in 97-B-0914 and 97-B-0915 are hereby remanded to the *967hearing committee for consideration with the charges filed in connection with 97-H3-0624.
TRAYLOR, J., not on panel.
